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EXHIBIT RR
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of the Person and Temporary Co-Conservator
of the Estate James P. Spears

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LOS ANGELES
UPERIOR COURT

SUPERIOR COURT OF THE STATE OF CALIFORNIA

COUNTY OF LOS ANGELES, CENTRAL DISTRICT

In re the Conservatorship of the Person and the
Estate of:

BRITNEY JEAN SPEARS,

Temporary Conservatee.

CASE NO. BP 108870

DECLARATION OF VIVIAN LEE
THOREEN IN SUPPORT OF EX PARTE
APPLICATION FOR ORDER: (1)
GRANTING POWER TO FIRE HOWARD
GROSSMAN; (2) REQUIRING HOWARD
GROSSMAN TO TURN OVER ALL
DOCUMENTS AND RECORDS
RELATING TO BRITNEY SPEARS; AND
(3) TO TURN OVER ALL ASSETS
RELATING TO BRITNEY SPEARS

Date: February 7, 2008
Time: 1:30 p.m
Department: 9

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THOREFEN DECT NT CTD AT ADM PAN Annen Ae rR:

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DECLARATION OF VIVIAN LEE THOREEN

I, Vivian Lee Thoreen, declare:

I. I am an attorney licensed to practice law in the State of California and am an
associate at the law firm of Luce, Forward, Hamilton & Scripps LLP (“Luce Forward”), counsel
of record for James P. Spears (“Mr. Spears”), the father of Britney Jean Spears (“Britney”) and
temporary conservator of the person and temporary co-conservator of the estate of Britney Jean
Spears. The statements contained in this declaration are based on my own knowledge. If called
as a witness, I could and would testify competently to them.

2. On February 6, 2008, I sent an email to Samuel D. Ingham III, Britney’s court-
appointed PVP counsel, regarding our intention to apply ex parte for an order authorizing the
Temporary Co-Conservators to fire Howard Grossman, and granting a an order that Mr.
Grossman immediately turn over all documents, records, and assets relating to Britney. It is my
understanding that Mr. Ingham responded that he consents to the relief being sought by Mr.
Spears and will attend the hearing on the ex parte application.

Executed on February 7, 2008 at Los Angeles, California. I declare under penalty of
perjury of the laws of the State of California that the fore ing is true and correct.

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VIVIAN LEE THOREEN

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THOREEN DECL. IN SUPP. OF APP. FOR ORDER RF HOWARD Gpnceatant

